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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                   )      CASE NO. 1:06 CR 290
                                             )
                       Plaintiff,            )      JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Torrence Gillis,                            )      Memorandum of Opinion and Order
                                             )
                       Defendant.            )



        INTRODUCTION

        This matter is before the Court upon defendant’s Motion to Vacate, Set Aside, or Correct

 Sentence Pursuant to § 2255 (Doc. 799) and plaintiff’s Motion to Dismiss (Doc. 802). For the

 following reasons, defendant’s motion is DENIED and plaintiff’s motion is GRANTED.

        FACTS

        Defendant was charged and convicted of distributing crack cocaine. This Court

 sentenced defendant on May 22, 2007. Thereafter, defendant filed an appeal and the matter was

 remanded for resentencing. On December 11, 2009, this Court sentenced defendant to 191

 months imprisonment. On December 12, 2009, the Court issued an amended judgment. On

 May 20, 2011, defendant filed his Motion to Vacate, Set Aside, or Correct Sentence Pursuant to
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 § 2255. The government has moved to dismiss the motion as untimely. Defendant did not

 oppose the government’s motion.

        DISCUSSION

        Generally, a prisoner who moves to vacate his sentence under § 2255 must show that the

 sentence was imposed in violation of the Constitution or laws of the United States, that the court

 was without jurisdiction to impose such sentence, that the sentence was in excess of the

 maximum authorized by law, or that it is otherwise subject to collateral attack. 28 U.S.C. § 2255.

 To prevail on a § 2255 motion “a petitioner must demonstrate the existence of an error of

 constitutional magnitude which had a substantial and injurious effect or influence on the guilty

 plea or the jury's verdict.” Humphress v. United States, 398 F.3d 855, 858 (6th Cir.2005)

 (citations omitted).

        Section 2255 motions are subject to a one-year statute of limitations. 28 U.S.C. § 2255(f).

 The limitation period generally runs from the date on which the judgment of conviction becomes

 final. Id. In the event a petitioner did not file a direct appeal, the statute of limitation commences

 when the time for filing a direct appeal has elapsed. Sanchez–Castellano v. United States, 358

 F.3d 424 (6th Cir.2004).

        Under Fed.R.App.P. 4(b)(1), defendant had 14 days from the entry of the Judgment

 issued on December 12, 2009, in which to file his notice of appeal.1 Defendant did not file a



  1
          The government claims that at the time of defendant’s sentencing,
          Fed. R. App. Proc. 4(b)(1) allowed ten days for the filing of a
          notice of appeal. It appears that the amendment to Fed. R. App.
          Proc. 4(b)(1), which allows 14 days for the filing of a notice of
          appeal in a criminal case, became effective December 1, 2009.
          Accordingly, it appears that defendant had 14 days in which to file
          a notice of appeal. The motion, however, is time-barred regardless
          of which appeal period applies.
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 timely notice of appeal.2 Since he did not pursue a timely direct appeal, his conviction became

 final on December 26, 2009.

        Gillis had one year, or until December 26, 2010, within which to file his § 2255 motion.

 Defendant did not file his motion until May 20, 2011. As such, the motion is untimely. Gillis

 makes no argument to the contrary.

        CONCLUSION

        For the foregoing reasons, plaintiff’s Motion to Dismiss is granted and defendant’s

 Motion to Vacate, Set Aside, or Correct Sentence Pursuant to § 2255 is denied. Furthermore, the

 Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this decision could not

 be taken in good faith, and that there is no basis upon which to issue a certificate of

 appealability. 28 U.S.C. § 2253(c); Fed. R.App.P. 22(b).

          IT IS SO ORDERED.




                                         /s/ Patricia A. Gaughan
                                         PATRICIA A. GAUGHAN
                                         United States District Judge

  Dated: 9/8/11




  2
          Defendant filed an untimely notice of appeal on August 6, 2010,
          which the Sixth Circuit dismissed.
